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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

 United States of America,                    No. 23-cr-20022

              Plaintiff,                      Hon. Gershwin A. Drain
 v.

 D-1 Mohamed Kazkaz

            Defendant.
  _______________________/


             GOVERNMENT’S SENTENCING MEMORANDUM


      The United States of America, by and through undersigned counsel,

respectfully submits its Sentencing Memorandum for Defendant Mohamed Kazkaz.

The sentencing hearing is set for October 26, 2023. Based upon his conduct, the

defendant’s sentencing guideline range is 97 – 121 months’ imprisonment.

       For the reasons stated herein and any reasons which may be set forth during

the hearing, the United States recommends a term of imprisonment of 109 months,

as this sentence is “sufficient but not greater than necessary” and would serve the

goals articulated by Congress. See 18 U.S.C. § 3553(A)(2)(a).




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I.      FACTUAL BACKGROUND

        Defendant Kazkaz has no medical training, yet he was the mastermind of an

     $11 million Medicare fraud scheme that resulted in him pocketing more than $5.4

     million dollars.

         From 2018 – 2023, Kazkaz owned and controlled a psychotherapy agency,

Centre, located in Oakland County, for the purpose of submitting false and fraudulent

claims to Medicare, seeking reimbursement for psychotherapy services that were not

provided or were otherwise not eligible for reimbursement and whose Medicare

identification numbers were procured through kickbacks and bribes.

         Kazkaz offered and provided kickbacks and bribes to Khalel, and others, as an

inducement to refer Medicare beneficiaries to Centre for psychotherapy services, even

though such services were medically unnecessary and were never rendered. Khalel

would require the recruited Medicare beneficiaries to sign blank Centre sign-in sheets.

Kazkaz and others, completed the sheets as if the patients had been provided

psychotherapy services and relied upon them to support his fraudulent claims to

Medicare, through Centre, for psychotherapy services that were never rendered.

         In furtherance of the scheme, Kazkaz instructed employees to obtain

information regarding the Medicare beneficiaries legitimate medical visits and or

treatments to ensure Kazkaz did not submit a fraudulent claim for a psychotherapy




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appointment on the same date the beneficiary had a legitimate appointment with

another medical provider.

       In furtherance of the scheme, Kazkaz routinely submitted claims utilizing three

specific CPT codes: CPT 90837-59 1 - hour psychotherapy session $175.00, CPT

90785-59 psychiatric services complicated by communication factor $40.00, and CPT

99354-25 extended office visit 150.00, three times a week for services that were never

rendered. Kazkaz submitted $11 million dollars in fraudulent claims to Medicare, and

Medicare paid $5.3 million dollars to Kazkaz as a result of the fraudulent submissions.

       On January 18, 2023, Kazkaz was arraigned on the Indictment which charged

him with health care fraud. In an effort to conceal his ill-gotten gain from the

government, on January 21, 2023, he transferred approximately $1,445,000 in a

cashier’s check to National Restaurant Chain #1 knowing the source of these funds

was criminal proceeds from the health care fraud scheme.

 II.   RULE 11 PLEA AGREEMENT AND SENTENCING GUIDELINE
       CALCULATION

       On July 18, 2023, Kazkaz pleaded guilty to Counts One and Nine of the

Second Superseding Indictment. Count One charged him with Health Care Fraud

Conspiracy in violation of 18 U.S.C. § 1349, and Count Nine charged him with

Money Laundering by Engaging in a Monetary transactions Exceeding 410,000 in

Criminally Derived Property in violation of 18 U.S.C. § 1957(a), pursuant to a Rule


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11 Plea Agreement. The Probation determined the applicable guideline range is 97

– 121 months and neither party objected to the guideline range.


III.   APPLICATION OF 18 U.S.C. § 3553(a)

       Congress has provided, through 18 U.S.C. § 3553(a), the relevant objectives

and factors to be considered by sentencing courts in imposing a sentence that is

“sufficient, but not greater than necessary.” Those objectives are: (i) the nature and

circumstances of the offense, and the history and characteristics of the defendant;

(ii) the need for a sentence to reflect the basic aims of sentencing (including

retribution, deterrence, incapacitation, and rehabilitation); (iii) the kinds of sentences

legally available; (iv) the Sentencing Guidelines; (v) Sentencing Commission policy

statements; (vi) the need to avoid unwarranted sentencing disparities among

defendants with similar records who have been found guilty of similar conduct; and

(vii) the need for restitution. The most relevant factors applicable to Mohamad

Kazkaz are set forth below.

       A. Nature and Circumstances of the Offense, and the History and
            Characteristics of the Offender, 18 U.S.C. § 3553(a)(1)

             1. Nature and Circumstances of the Offense

       The nature and circumstances of the offense are serious. Mohamed Kazkaz

engaged in and pled guilty to a conspiracy to defraud Medicare that resulted in a loss

of more than $5 million. The sole purpose of the conspiracy was to defraud


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Medicare, and this feat could not be accomplished without the defendant. Mohamed

Kazkaz was the architect of this massive fraud scheme. Kazkaz incorporated a sham

business, paid kickbacks to Khalel and other recruiters for providing the information

of Medicare beneficiaries and for pre-signed Centre sign-in sheets. Kazkaz also

hired the employees, including the medical providers and social workers, and he

instructed them to issue thousands of falsified medical records without regard to

medical necessity.

      Medicare is a trust-based system. Mohamed Kazkaz, as the owner of a

Medicare authorized business, was trusted to only submit claims for services that

had been properly rendered and were medically necessary. Mohamed Kazkaz

abused that trust by orchestrating an elaborate scheme for the sole purpose of lining

his own pocket.

      Moreover, in an effort to keep the proceeds of his fraudulent scheme, after his

arraignment on these charges, he transferred $1.4 million dollars of the proceeds to a

restaurant as an investment, with the agreement that the restaurant would repay him

with interest, at a rate of $10,000 per month.

      Mohamed Kazkaz knew his conduct was unlawful and he engaged in this

fraudulent scheme with a complete disregard for any semblance of providing

medical care and based upon the seriousness of this offense a custodial sentence of

109 months is warranted.

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      2.     History and Characteristics of the Defendant

      The defendant was born in Hama, Syria and was raised by two loving parents.

His father was a physician prior to his death. He is married and has five children.

The defendant’s wife is supportive and will remain by his side.

      In seeking leniency in sentencing Mohamed Kazkaz contends his conduct was

aberrant. The defendant’s behavior is not aberrant as he engaged in similar conduct

by defrauding the Medicaid program. During the execution of a search warrant at his

residence in Farmington Hills, MI, also the alleged location of Centre HRW, agents

found several Medicaid insurance cards in the names of his children (Exhibit 1).




                                         Exhibit 1




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Agents also located an IRS form 1095-B for 2020 in which Kazkaz indicated that

Medicaid is his health care provider (Exhibit 2).




                                         Exhibit 2

      To be eligible for Medicaid benefits the recipients are age 19 – 64 years and

have an income at or below 133% of the federal poverty level (about $18,000 for a

single person or $37,000 for a family of our or more). Kazkaz failed to inform the

Michigan Department of Health and Human Services that he was ineligible to




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receive these benefits because he far exceeded the income requirement1. Moreover,

the defendant continued to engage in criminal conduct after being arraigned in this

case, by transferring $1.4 million dollars of his fraudulent proceeds to a National

Restaurant Chain to avoid seizure by the government.

      Mohamed Kazkaz, unlike so many other defendants who appear before the

Court, benefitted from a loving and supportive family and was raised in a stable

household. However, he allowed greed to supersede his desire to abide by the law

and adhere to his moral and ethical duties. The defendant has an engineering degree

which he could have utilized to make a substantial income legitimately. Rather than

rely on a legitimate income, he chose to orchestrate a scheme that required him to

abuse the trust placed in him by Medicare for personal gain. There is nothing in the

record to suggest that if he had not been caught, he would have changed his course

of conduct in any way. Mohamed Kazkaz’s history and characteristics do not

support a downward variance from the applicable guideline range, instead they

support a sentence of 109 months’ imprisonment.




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https://www.michigan.gov/healthymiplan/who#:~:text=See%20if%20you%20qualif
y%20for%20the%20Healthy%20Michigan%20Plan.&text=Are%20age%2019%2D
64%20years,enrolled%20in%20other%20Medicaid%20programs

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      B. Seriousness of the Offense, Promoting Respect for Law, and Providing
      Just Punishment, 18 U.S.C. § 3553(a)(2)(A)

      The recommended custodial sentence appropriately accounts for the

seriousness of Mohamed Kazkaz;s offenses and justly punishes them. See 18 U.S.C.

§ 3553(a) (2)(A). His status as a well-educated, white-collar, first-time offender

does not warrant any leniency given the circumstances of this case. His actions are

not merely crimes committed on paper. The paper was used to defraud Medicare of

millions of dollars. All of the money involved in the scheme came from the

Medicare program. The program, funded by American taxpayers, is a public trust

intended to provide health insurance for the elderly and disabled. Every dollar that

Kazkaz and his co-conspirator helped divert from this program—and into their

pockets—is a dollar that could have been used to provide valuable services to

Medicare beneficiaries.

      And as this Court is well aware, the Eastern District of Michigan has a

particular problem with corrupt clinic owners and physicians willing to sell their

licenses and judgment in pursuit of personal gain, sometimes at the expense of their

patients, and unfortunately Mohamad Kazkaz is one of them.

      C. To Afford Adequate Deterrence to Criminal Conduct and Protect the
           Public from Further Crimes of the Defendant, 18 U.S.C. §
           3553(a)(2)(B)-(C)

      A substantial custodial sentence will also provide specific and general

deterrence for Mohamed Kazkaz’s criminal conduct. See 18 U.S.C. §

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 3553(a)(2)(B). Deterrence serves to discourage others who are inclined to involve

 themselves in similar criminal conduct. It is also an important consideration when

 fashioning a sentence that will persuade a defendant from continuing to engage in

 criminal behavior. In particular, the sentence should serve to discourage those who

 seek to defraud Medicare and compromise their ethical and moral obligation. A 109-

 month custodial sentence in this case would reflect the severity of Kazkaz’s actions.

       More importantly, a custodial sentence will provide a clear message important

 to the goal of general deterrence. The sentence imposed for those involved in this

 heath care fraud conspiracy must be capable of sending a strong message. The

 sentence imposed must reinforce to the community that this conduct will not be

 tolerated and those choosing to engage in this conduct will be held accountable.

   D. To Avoid Unwarranted Sentencing Disparities 18 U.S.C. 18 U.S.C. §
      3553(a)(4)(A)(6)

       Defendant seeks leniency and in support relies upon the sentences imposed

 for physicians who have been convicted of Conspiracy to Commit Health Care

 Fraud. However, the defendant’s conduct is more akin to Francisco Patino, who

 was sentenced to 16.5 years for his conduct in falsifying medical records to defraud

 Medicare of millions of dollars as a clinic owner. Here, like Patino, Kazkaz was the

 leader and organizer of an extensive fraud scheme that resulted in a significant loss

 to Medicare. A sentence of 109 months would not result in a sentencing disparity

 for similarly situated defendants.
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 IV.   CONCLUSION

       For the foregoing reasons, the Government respectfully requests that the

 Court sentence Defendant Mohamed Kazkaz to a term of 109 months’

 imprisonment, applicable restitution, and a 3-year term of supervised release with

 the special condition excluding him as a provider from all Federal Health Care

 Programs, including Medicare.

                                            Respectfully submitted,

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 Dated: October 19, 2023




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                                   Certificate of Service

          I hereby certify that on October 19, 2023 I electronically filed the foregoing

 document with the Clerk of the Court using the CM/ECF system, which will send

 notification of such filing to the following:

          Kenneth R. Chadwell
          Counsel for Defendant Mohamed Kazkaz


          I further certify that the foregoing document was sent to the following via

 email:

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